ORIGINAL

UNITED STATES DISTRICT COURT

PASTERNDISTRICT OPEN YORE 1 BE 46>

 

 

 

 

 

 

 

KEVIN GILL ,

Plaintiff , Case # «

ROSS, J. COMPLAINT
BLOOM, MJ.
- against - JURY DEMAND

THE CITY OF NEW YORK , and JOHN D
DOE(S) in plain clothes with and OF the 73rd I E lb fe Wie ei)
Precinct ( the names John Doe (plain clothes) OCT g1 2015
being fictitious, as the true identites are
presently unknown and said unidentifiable ) , PRO SE OFFICE

Defendants .
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Plaintiff, KEVIN GILL by Pro Se complaining of the
defendants herein, The City of New York, and the JOHN DOES 1-4
(collectively, "Defendants" ), respectfully allege as follows:

NATURE OF THE ACTION
1. This is an action at law to redress the deprivation of rights
secured to the plaintiff under color of statue,
ordinance,regulation, custom, and/or to redress the
deprivation of rights, priveleges, and immunities
secured to the plaintiff by the Fourth and Fourteenth
Amenedments in the United States Constitution of the
United States, and by Title 42 U.S.C. § 1983 [ and § 1985 ],
{and arising under the law and statutes of the City and
State of New York}.
JURISDICTION
2. The jurisdiction of this Court is invoked pursuant to
42 U.S.C. § 1983, 28 U.S.C. § 1343, 28 U.S.C. § 1331 and
28 U.S.C. § 1367, and under the Fourth, Sixth, and
Fourteenth Amenedments to the United States Constitution.
3. As the deprivation of rights complained of herein occurred

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within the Easten Districct of New York, venue is proper in
this district pursuant to 28 U.S.C. § 1391 (b) and (c).
THE PARTIES

Plaintiff is and was at all times material herein a resident of
the United States and The State of New York.
At all relevant times, defendants John Doe and Jane Doe | - 4
(hereinafter "defendant officers") were upon information and
belief, and still are, agents and/or officers employed by
defendant The City of New York.
At all times herein, the defendant the City of New York were
acting under the color of their official capacity, and their acts
were/are the servants, agents, and employees of their co-
defendant, The City of New York, such as their acts are
imputed to The City of New York.
At all relevant times, the defendant The City of New York
was and is a municipal corporation duly organized and
existing under the laws of The State of New York, and
was/is the employer of the defendant officers, and the
actions of the defendant officers complained of herein
were done as part of the custom, practice, usage,
regulation, and/or at the direction of the defendant, The City
of New York.
Plaintiff is suing the defendant officers in their individual and
official capacities before pursuing their enforcers and
enforcers motivators.

FACTUAL ALLEGATIONS COMMON TO ALL

CAUSES OF ACTION

On 8 / 13 / 2014 approximately 2:20 p.m. near 61 Glenmore
Ave. (Watkins St.) in front of Brooklyn Public Library,
defendants JOHN DOES' #1-4 in unmarked car bearing the
license plate #DUC7183 did stop plaintiff - who was
walking with his girlfriend - and did demand he give them
identification.
Plaintiff asked officers JOHN DOES' #1-4 " Why I have to
give you my ID? " which prompted defendant JOHN DOE to
answer "Because I said so." Plaintiff who feared for his life,
reached into his pocket and gave identification to the driver.
Defendant then asked plaintiff about the dbx cable he had in
his shopping cart.
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Plaintiff stated that the items he had was from his house and
he was on his way to the recycler.
Defendant officers then told plaintiff that he could not leave
until they found out via radio from the "base" if he had a
warrant, and that if he had no warrant he would be set free.
After over serveral minutes passed, defendant JOHN DOE'S
#1-2 did exit unmarked vehicle bearing license plate
#DUC7183 and proceeded to search plaintiff by lifting up
his shirt. He was also asked if he had any weapons to which
plaintiff responded "no",
Defendant officers #1-4 then told plaintiff that other officers
were coming to take him to his address so he (plaintiff) could
prove he lives there.
After more than several minutes uniformed officer(s) SGT.
NUNEZ and JOHN DOES #1-6 arrived. A conversation was
held between plainclothed JOHN DOES #1-4 and uniformed
officers SGT. NUNEZ and JOHN DOES #1-6.
Several minutes later the plaintiff was then told that he may
leave.
That each and every officer and/or individual who responded
to, had any involvment and/or was present at the location of
the unlawful stop detainment and search knew and was fully
aware that the plaintiff did not commit any crime or offense.
As a result of the incident by defendant officers, plaintiff
suffered and continues to suffer emotional distress, fear,
embarrassment, humiliation, displacementdiscomfort, loss
of consortium, financial losses, pain, and defamation.
The actions of the defendants, acting under color of State
law, deprived plaintiffs of their due process rights, and
rights,remedies, privileges, and immunities under the laws
of the Constitution of the United States, treaties,
ordinances,customary international law and norms, custom
and usage of a right; in particular, the right to be secure in
their own person and property, to be free from abuse of
process and the right to due process.
Plaintiff has been the victim of several other attacks and
violations by officers the 73rd Precinct.

FIRST CAUSE OF ACTION : 42 U.S.C. 1983
By this reference, plaintiff incorporates each and every

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allegation and averment set foreth in paragraphs 1 - 21 of
this complaint as though fully set forth herein.

The conduct of defendant officers, as described herein,
amounted to a de-facto arrest, excessive use of force,
malicious abuse of process, failure to intervene, unlawful
stop and frisk, unreasonable detention, unreasonable search
and seizure, racial profiling, abuse of authority, pattern of
harrassment, conspiracy, discrimination, selective
enforcement, fabrications of evidences, denial of equal
protection of the laws, denial of right to a fair trial,

denial of due process rights and malicious prosecutions.
Such conduct described herein violated plaintiff's rights
under 42 U.S.C. § 1983 and the Fourth and Fourteenth
Amendments to the United States Constitution.
Consequently, plaintiff has been damaged and hereby
deemed compensatory and punitive damages in an amount
to be prove at trial against each of the defendants,
individually and severally.

SECOND CAUSE OF ACTION : FAILURE TO TRAIN /
SUPERVISE / DISCIPLINE AND MUNICIPAL POLICY
- against defendant The City Of New York -

By this reference, plantiff incorperates each and every
allegation and averment set forth in paragraphs 1 - 25 of
this complaint as though fully set forth herein.
Defendant City of New York, acting through the New York
Police Department, had actual and/or de facto polices,
practices, custom and/or usages of failing to properly train
supervise or discipline its police offficers concerning
correct practices in conducting investigations, the use of
force, lawful search of individuals and/or their properties,
has failed to promugate, put into effect and monitor the
enforcement of appropiate rules to ensure warrantless
searches of people and/or their places, materials, papers
and effects are not engaged.

Further, the existence of the oforesaid unconstitutional
policies, practices, customs and/or usages may be inferred
from repeated occurances of similar wrongful conduct.
Upon information and belief, many of the named individual
defendants have a lengthly substanciated history of police

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misconduct, fraud and dishonesty. further, many of the
named individua! defendants are named defendants in
numerous lawsuits in this district and in the Southern
District of New York alleging similar claims as those alleged
herein-- many of which lawsuits have been setelled by
defendent City of New York with said defendant making
substantial monetary payments to the plaintiffs in the said
lawsuits.

In addition to the named individual defendants, several
officers of the NYPD assigned to the 73rd Precinct as the
named individual defendants routinely perform warrantless
searches and make unlawful arrests charging innocent
persons with various crimes and/or offenses.

Most of the arrests and charges made by officers assigned
to the NYPD 73rd Precinct are usually voided and/or
dismissed by prosecutors for lack of evidence.

Defendant, The City Of New York, has settled numerous
of lawsuits brought in this district against several officers
assigned to the NYPD 73rd Precinct concerning similar
behavior as described herein.

Defendant, The City Of New York maintained the above
described policies, practices, customs or usages knowing
fully well that the policies, practices, customs and/or
usages lead to improper conduct by its police officers and
employees. In failing to take any corrective actions,
defendant The City Of New York acted with deliberate
indifference, and its failure was a direct and proximate
cause of plaintiff's injuries as described herein.

The actions of defendants, acting under color of State law,
deprived plaintiff of his due process rights, and rights,
remedies, priveleges, and immunities under the laws and
Constitution of the United States, treaties, ordinances,
customary international law and norms, custom and usage
of a right; in particular, the right to be secure in their person
and property, the right to be free from abuse of process,
the excessive use of force, and the right to due process.

By these actions, defendants deprived plaintiff of rights
secured by treatise, ordanances, customary international
law and norms, custom and usage of a right, and the Fourth

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and Fourteenth Amendments to the United States
Constitution, in violation of 42 U.S.C. § 1983.

THIRD CAUSE OF ACTION : 42 U.S.C. § 1985
By this reference, plaintiff incorporates each and every
allegation and averment set forth in paragraphs 1 - 35 of this
complaint as though fully set forth herein.
In an effort to cover up the lawless activity of property
damage and violations of plaintiff's due process, defendant
officers conspired among themselves and conspired with
other individuals to deprive plaintiff of his constitutional
rights secured by 42 U.S.C. § 1983, and by the Fourth and
Fourteenth amendments in the United States Constitution,
because of their percieved social status, race, ancestry
and/or ethnicity, and took numerous overt steps in
furtherance of such conspiracy, as set forth above.
In light of the foregoing therefore, defendant officers
engaged in a conspiracy designed to deprive plaintiffs of
their constitutional and federal rights in violation of 42 U.S.C.
§ 1985.
As a direct and proximate result of the misconduct and abuse
of authority detailed above, plaintiff sustained the damages
herein before stated.
FOURTH CAUSE OF ACTION : NEW YORK STATE

CONSTITUTION,
Article I, § 6,11 and 12

By this reference, plaintiff incorporates each and every
allegation and avertment set forth in paragraphs | - 39
of this complaint as though fully set forth herein. By
reason of the foregoing, and by stoping, detaining, and
searching him without probable cause or reasonable
suspicion, depriving plaintiff of due process and equal
protection of laws, defendants deprived plaintiff of rights,
remedies, priveleges, and immunities, guaranteed to every
New Yorker by Article I § 6 ( providing for due process ),
Article I § 11 ( prohibiting discrimination in Civil Rights
and providing for equal protection of laws ) , & Article I
§ 12 ( prohibiting unreasonable search & seizures ) of the
New York Constitution.
In addition, defendant officers conspired among themselves

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and conspired with other individuals to deprive the plaintiff
of the constitutional rights secured by Article I, §§ 6, 11 & 12
of the New York Constitution and even took numerous overt
steps in furtherance of such conspiracy as set forth above.
Defendant officers acted under pretense and color of State
law and in their individual and official capacities and within
the scope of their respective employments as officers,
agents, or employees’. Defendant officers' acts beyond
the scope of their jurisdiction without the authority of law
and inabuse of their powers. Defendant officers acted
willfully, knowingly, and with the specific intent to deprive
the plaintiff of his constitutional right in Article 1 §§ 6, 11
& 12 of The New York Constitution .
Defendant officers, agents, servants, and the employees
were responsible for the deprivation of plaintiff's State
Constitutional Rights.

FIFTH CAUSE OF ACTION : Other New York Torts
By this reference, plaintiff incorporates each and every
allegation and avertment set forth in paragraphs 1 - 43
of this complaint as though fully set forth herein.
The conduct of the defendant, as described herein,
amounted to tresspass, unreasonable search, unlawful
stop, special injury, loss of consortium, defamation,
fraud, harassment, torturous interferance. negligence and
intentional infliction of emotional distress and negligent
hiring and retention of defendant officers.
Consequently, plaintiff has been damaged and hereby
demands compensatory and punitive damages in an
amount to be proven at trial against each of the defendants
individually and severally.

WHEREFORE, plaintiff respectfully prays judgement as follows :

a.

b.

For compensatory damages against all defendants in an
amount to be proven at trial ;

For exemplary and punitive damages against all defendants
in an amount to be proven at trial ;

For all costs of Plaintiff's theoretical time spent,
preparation and execution of Complaint ( this includes but
is not limited to costs of copies, notarized affidavits,
certified mail, ink, paper, etc. )

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d. For such other and further relief that this court deems
proper.
DEMAND FOR TRIAL BY JURY

Pursuant to Rule 38 ( b ) of the Federal Rules of Civil Procedure, plaintiff
demands a trial by jury.

I declare under penalty of perjury that the above/foregoing is true and correct.

Signed this 2L day of SEPLEphher _,20 15°

Signature of Plaintiff : LQ LY

Mailing Address : 1519 East New York Ave.
Brooklyn, NY 11212

Telephone Number : 518-858-6885
